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 1          LAW OFFICES OF
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       SACRAMENTO, CA 95835
 3             State Bar #063214


 4
     ATTORNEYS FOR:          Defendant
 5
 6
                                    IN THE UNITED STATES DISTRICT COURT
 7
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA                          No.   2:10 Cr. 305 MCE
                                                   )
10                                    Plaintiff,       REQUEST TO FILE DOCUMENT
                                                       UNDER SEAL AND ORDER
11        v.
12
     SIAVASH POURSARTIP, ET. AL
13                  Defendants,
14
15          Comes now SARA SHIRAZI, requesting that the Court allow the filing of Dr. Michael
16   Kasman’s report under seal. The request is based on the content of the report, which
17   includes personal and medical information.
18                                                     ORDER
19          The Court having reviewed the request to allow a document to be filed under seal,
20   and good cause appearing therefore, IT IS ORDERED that the Report of Dr. Michael
21   Kasman be filed under seal.
22             IT IS SO ORDERED.
23   Dated: December 9, 2014
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